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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

Civil Action No. 4:19-cv-00414-A
AMERICAN AIRLINES, INC.,

Plaintiff,

 

NORTHERN DISTRICT OF TEXAS

FILED

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| U.S. DISTRICT COURT
Vv.

 

TRANSPORT WORKERS UNION OF |
AMERICA, AFL-CIO, INTERNATIONAL JUN 1 4 2aig |
ASSOCIATION OF MACHINISTS AND

 

 

AEROSPACE WORKERS, and AIRLINE | cue
MECHANIC AND RELATED EMPLOYEE | By
ASSOCIATION TWUNAM, |

ISTRIET|G RE

Deputy

 

Defendants.

 

JOINT STATUS REPORT REGARDING SETTLEMENT CONFERENCE

Pursuant to the Court’s Order Setting Schedule and Providing Special Pretrial
Instructions dated June 4, 2019, Plaintiff American Airlines, Inc. (“American”) and
Defendants Transport Workers Union of America, AFL-CIO, International Association of
Machinists and Aerospace Workers, and Airline Mechanic and related Employee
Association TWU/IAM (“Defendants”) hereby file this Joint Status Report Regarding
Settlement Conference, as follows:

On June 11, 2019, the Parties conducted a settlement conference in the Fort Worth office
of Kelly Hart & Hallman LLP, with the following persons in attendance:

« Dee J. Kelly, Jr. and Elizabeth A. Cuneo of Kelly Hart & Hallman LLP, local
counsel for American Airlines, Inc.;

e Robert A. Siegel of O’Melveny & Myers LLP, lead counsel for American
Airlines, Inc., participated in the conference by telephone from his office in Los
Angeles, California. Mr. Siegel had made plans to attend the meeting in person as
instructed by the Court but his flight to DFW was cancelled at the last minute by
the airline, He then attempted to secure another flight but was unable to find any
options to DFW that day. Mr. Siegel did not travel to Fort Worth the following

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morning because the time change from California to Texas did not allow him to
arrive before the scheduled morning meeting with Defendants;

e Mark W. Robertson of O’Melveny & Myers LLP, co-counsel for American
Airlines, Inc., also participated by telephone. Mr. Robertson had two flights from
New York to DFW cancelled less than one hour before departure time, and was
unable to secure alternative arrangements that allowed him to arrive in time for
the morning meeting;

e Lucretia Guia, Vice President Labor Relations and Deputy General Counsel for
American Airlines, Inc.

e Sanford R. Denison of Baab & Denison LLP, local counsel for Defendants;

* Mark Richard of Phillips Richard & Rind, PA lead counsel for the Transport
Workers Union of America, AFL-CIO and Airline Mechanic and Related
Employee Association TWU/IAM ;

e. Gary Peterson, Vice President, Transport Workers Union of America, AFL-CIO;

e Jeffrey A. Bartos of Guerrieri Bartos & Roma PC, lead counsel for the
International Association of Machinists & Aerospace Workers and Airline

Mechanic and Related Employee Association TWU/TAM; and

e Timothy Klima, Airline Coordinator, Defendants International Association of
Machinists & Aerospace Workers.

The client representatives at the meeting had unlimited settlement authority. The parties
had a full discussion regarding the facts of the case and the issues to be tried, but were unable to
reach a settlement during the conference. Progress toward settlement was made but the prospects
of reaching an agreement are still low. The parties agreed to continue discussing a resolution to

the case prior to the next Court ordered settlement conference.

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CERTIFICATE OF SERVICE

I certify that on June 14, 2019, a true and correct copy of the foregoing document was
served upon all persons who have requested notice and service of pleadings in this case via the

Court's ECF system.
CEMA

Dee J. Kelly, Jr. / (

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